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Case 4:17-cV-00227 Document 1-2 Filed in TXSD on 01/25/17 Page 1 of 37
1215/2016 2:30:08 P|V|
Chris Danie| - District Clerk Harn's County
Enve|ope No. 14106087

2016-83586 / COurt: 215 By:~elsoncuem

Filed: 12/5/2016 2130108 PM

CAUSE NO.
MAGDIEL MARQUEZ- GARCIA, § IN THE DISTRICT COURT OF
iF’I¢$n`rztijjf §
§
V. § I-IARRIS COUNTY, TEXAS
§
MARK RICHARD MAHER and §
WERNER ENTERPRISES, INC., §
Defendauts § th ]UDICIAL DIS'[RICT

PLAINTIFF’S ORIGINAL PETITION, REQUESTS FOR DISCLOSURE,
FIRST SET OF INTERROGATORIES, REQUESTS FOR PR(:)DUCTIO§l
AND REQUESTS FOR ADMISSION

 

 

 

TO THE HONORABLE COURT:

COMES NOW Plaintiff MAGDIEL MARQUEZ~GARCIA (hereafter referred to as
”Plaintiff”) in the above-entitled and numbered cause complaining of and against
Defendants MARK RlCI-IARD MAI-IER {”Defendant MAHER”) and WERN'ER
ENTERPRISES, IN.C. ("Defendant WERNER”) (hereafter collectively referred to as
”Defendants”) and for cause of action Would respectfully show the following

I.
DISCOVERY LEVEL

Pursuant to TEX. R. CIV. P. 190.1, Plaintiff intends to conduct discovery in this case
under Level 3 as proscribed by TEX_ R. CIV. P. 190.4. Presently, the full extent of Pla`mtiff’s
injuries is not l<nown. At the time of filing this lawsuit, Plaintiff seeks monetary relief
“over $1,000,000” in accordance With TEX. R. CIV. P. 47(c)(3). Plaintiff reserves the right

to amend this petition, including this provision, as the case continues

 

Plaintr]jf's Orig“inal Petitiou, Requests for Disclosure, l-"irst Set ofInterrogatories
Requestsfor Production, and Requests for Admissz`on

DEFENDANT'S
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Ceitified Document N'umber: 72963332 - Page 2 of 36

 

Case 4:17-cV-00227 Document 1-2 Filed in TXSD on 01/25/17 Page 2 of 37

II.
PAR'I`IES AND SERVICE OF CITATION

Piaintiff MAGDIEL GARCLA MARQUEZ resided in Fort Bend County, Texas at
the time of the events which form the basis of this lawsuit

Defendant MARK RICHARD MAHER is an individual whose last known address
is 3704 Greensboro Drive, Eagan, Minnesota, 55123. Plaintiff requests that citation be
issued Ser'vice will be effected Via PRIVATE PROCESS SERVER.

Defendant WERNER ENTERPRISES, INC. is a foreign corporation who may be
served with process through its registered agent in Texas, john Vidaurri, 8601 Peterbilt
Avenue, Dailas, Te)<as 75241.

Defendant WERNER engaged in business in the State of Texas by allowing its
employee, agent, or servant to operate a motor vehicle on the roads and highways of the
State of Texas. ln so doing, he collided with Plaintiff’s vehicle while operating Defendant
WERNER's vehicle.

Plaintiff requests that citation be issued Service Will be effected via PRIVATE
PROCESS SERVER.

III.
IURISDICTION & VENUE

This suit is brought in accordance with the laws of the State of Texas for the
recovery of damages Which are in excess of the minimal jurisdictional limits of this Court
to which Plaintiff is entitled to receive as compensation for the injuries described below.
Accordingly, this Court has jurisdiction over this matter and Harris County is the proper

venue per Tsx. Crv. PRAC. & REM. CoDE § 15.0(}2(b).

 

Plez'ntijj"s Orz'ginal Petitz`on, Requests for Disclosure, First Set of Interrogatories Page 2
Requests for Production, and Requests for Admission

 

 

 

Certlfied Document Number: 72963332 ~ Pagc 3 of 36

Case 4:17-cV-00227 Document 1-2 Filed in TXSD on 01/25/17 Page 3 of 37

IV.
FACTUAL BACKGROUND

Plaintiff brings this suit to recover damages for personal injuries and property
damage sustained as a result of an incident that occurred on or about May 19, 2016 in
Comal County, Texas. Said incident was proximately caused by the negligence of
Defendants.

At the time of the occasion in question, Plaintiff had stopped at the
Travel Centers of America truck stop located at 4817 l~35 North in New Braunfels, Comal
County, Texas. Plaintiff was traveling from Dallas, Texas to San Antonio, Texas, had
stopped to rest, and was sleeping in the back of the trailer

Defendant MAHER the operator of the vehicle provided to him by Defendant
W"ERNER was driving his tractor~trailer through the truck stop parking lot. While
attempting to reverse into a parking spot next to the Plaintiff’s vehicle, Defendant
MAHER made an extremely wide and improper turn then violently struck the front of
the Plaintiff’s vehicle. Due to the negligent manner in which Defendant operated the
tractor-trailer, Defendant could not stop, and violently crashed into Plaintiff’s vehicle.

Defendant l\/IAHER forcefully struck Plaintiff's vehicle inflicting severe personal
injuries and damages

V.
STATUTORY BMPLOYEE

At all times material to this cause of action, Defendant MAHER was for all
purposes a statutory employee of Defendant WERNER as contemplated by the both the

Federal l\/lotor Carrier Safety Responsibility Act (FMCSR) and Texas statute An

 

Plaintsz's On`gz'nal Petz`tion, Requests for Disclos:mz, Pz'rst Set of lnterrogatories Page 3
Requests for Production, and Requests for Admfssion

 

 

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Case 4:17-cV-00227 Document 1-2 Filed in TXSD on 01/25/17 Page 4 of 37

employer, as defined by FMSCR, ”means any person engaged in a business affecting
interstate commerce who owns or leases a commercial motor vehicle in connection with
that business . ..” 49 C.F.R. § 390.5 (1997). Texas has incorporated by reference, Parts 382,
385, 386, 390~393, and 395~395 of the Federal l\/Iotor Carrier Safety Regulations. See 37 TEX.
ADMIN. CODE § 3.62(a) (1996) (”The director of the Texas Department of Public Safety
incorporates, by reference, the Pederal Motor Carrier Safety Regulations, Title 49, Code
of Federal Regulations, Parts 382, 385, 386, 390~393, and 395~397 including amendments
and interpretations thereto.”) Defendant WERNER is thereby vicariously liable for the
negligent actions of Defendant MAHER. Morn's n ]TM Materials, 78 S.W.3d 28 (Tex. App~
Fort Worth 2002, no pet.).

VI.
RESPONDEAT SLIPERI_OR

At all times material hereto, Defendant MAHER was acting within the course and
scope of his employment and / or official duties with Defendant WERNER.

Furthermore, at all times material hereto, Defendant l\/IAHER was acting in
furtherance of the duties of his office and / or employment with Defendant WERNER.

Therefore-, Defendant WERNER is responsible for all damages resulting from the
negligent acts and / or omissions of Defendant MAHER pursuant to the doctrine of
respondeat superior.

VII.
NEGLIGENCE

Plaintiff alleges that on the occasion in question, Defendant MAHER failed to use

ordinary care by various acts and omissions in at least the following ways:

 

Plaintijj"s Original Pet:`h'on, Requests for Disclosure, Fz'rst Set of lntewogatories Page 4
Requestsfor Production, and RequestsforAdmission

Certified Document Number: 72963332 - l?age 4 of 36

Certifisd Document Number: 72963332 - Page 5 of 36

 

Case 4:17-cV-00227 Document 1-2 Filed in TXSD on 01/25/17 Page 5 of 37

g.

h.

Failing to keep the tractor-trailer within a safe distance,'
Failing to use the tractor trailer's horn to warn other drivers;
Failing to keep a proper lookout;

Failing to use due caution;

Failing to properly and/ or safely slow the tractor-trailer;
Failing to properly and / or safely stop the tractor-trailer,'
Failing to properly operate the tractor-trailer; and

Causing a collision of vehicles resulting in personal injuries

Each and all of the above-stated acts and / or omissions constitute negligence and

the same are a proximate cause of the injuries and damages sustained by Plaintiff.

VIII.
NEGLIGENCE PER SE

 

Moreover, Plaintiff would show that, at the time of the collision in question,

Defendants violated the TsxAs TRANsPoRTAnoN CoDE in at least one or more of the

 

following ways:

3_.

d.

Failing to control speed or traveling at an unsafe speed, a violation of
§ 545.351;

Failing to keep the vehicle within proper distance from vehicles ahead or
behind, a violation of § 545.()62;

Failing to maintain brakes in good working order, a violation of
§ 547.402(d); and

Reckless driving, a violation of § 545.40l(a) and (c)(Z).

At all times material to this cause of action, Plaintiff belonged to that class of persons

for whom said statutes were enacted to protect Defendants’ failure to adhere to the non-

 

Plaz`ntij’s Original Petition, Requests for Disclosure, Ffrst Sct of Interrogatories Page 5
Requestsfor Production, and Reqz¢estsfor Admission

 

 

 

Certified Document Number: 72963332 - Page 6 of 36

Case 4:17-cV-00227 Document 1-2 Filed in TXSD on 01/25/17 Page 6 of 37

conditional standards set forth by said statutes and/ or regulations constitutes negligence
per se. Each and all of the above-stated acts and/ or omissions are a direct and proximate

cause of the injuries and damages sustained by Plaintiff.

IX.
NEGLIGENT ENTRUSTMENT

 

Plaintiff further alleges that, on or about the occasion in question, Defendant
WERNER owned the vehicle that was operated by Defendant MAHER. Defendant
MAHER was in possession of said vehicle with the express consent of Defendant
WERNER.

Defendant WERNBR entrusted its vehicle to Defendant MAl-IER for the purpose
of operating it, and Defendant MAHER operated it with the knowledge consent, and
permission of Defendant WERNER. At such timel Defendant MAHER was reckless and
therefore unfit to safely operate a motor vehicle Defendant WERNER knew or should
have known, in the exercise of due care, that Defendant MAHER was reckless,
incompetent, and therefore an unfit driver who would create an unreasonable risk of
danger to persons and property.

Plaintiff also alleges that, upon the occasion in question, Defendant V\TERNER
was negligent for failing to use ordinary care by various acts and omissions in at least the
following ways:

a. Knowingly and negligently entrusting its vehicle to a reckless, incompetent,
and / or unfit driver;

b. F ailing to use reasonable care in recruiting and selecting employees ;

 

Plaint£jjf’s Original Petit:`on, Requests for Disclosure, First Set oflnterrogatorfes Page 6
Requests for Production, and Requesfs for Admission

 

 

 

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Case 4:17-cV-00227 Document 1-2 Filed in TXSD on 01/25/17 Page 7 of 37

c. Failing to use reasonable care in the re-training and/ or termination of
incompetent, careless, or reckless employees;

d. Failmg to use reasonable care in training employees; and,
e. Pailing to use reasonable care in monitoring and supervising the conduct of
employees

Each and all of the above-stated acts and/ or omissions constitute negligence and
the same are a direct and proximate cause of the injuries and damages sustained by

Plaintiff.

X.
GROSS NEGLIGENCE

 

At the time of the incident, Defendant l\/LAHER was operating Defendant
WERNER’s tractor-trailer with reckless disregard for the rights of others which was the
result of conscious indifference to the rights, welfare, and safety of other motorists
pedestrians and other persons The gross negligence of Defendants was a proximate
cause of the damages suffered by Plaintiff. Therefore, Plaintiff is entitled to recover
punitive damages

Xl.
DAMAGES

Plaintiff would show that, as a direct and proximate result of the above-mentioned
collision, Plaintiff has suffered injuries and damages Plaintiff has experienced damages

including, but not limited to, the following:

 

a. Physical pain and suffering in the past and future;
b. Loss of earning capacity in the past and future;
c. Medical expenses in the past and future,'
Plaintz`]jf's Original Petition, Requests for Disclosure, First Set of lnterrogatories Page 7

Requests for Production, and Requests for Admission

Certified Document Number: 72963332 - Page 7 of 36

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Case 4:17-cV-00227 Document 1-2 Filed in TXSD on 01/25/17 Page 8 of 37

d. Physical impairment in the past and future; and

e. Physical disfigurement in the past and future

Plaintiff has experienced damages including, but not limited tO, the following:

a. Past Pecuniary Loss;

b. Future Pecuniary Loss;

c. Past l\/lental Anguish; and,

d. Puture l\/lental Anguish.

As required by TEX_ R_ ClV. P_ 47, Plaintiff affirms that ”the damages sought are
within the jurisdictional limits of the Court.” In addition, at the time of filing this Petition,
Plaintiff seeks ”monetary relief over 51,000,000.” Plaintiff specifically reserves the right
provided by the TExAs RULEs or CivlL PRocsDURE to amend and / or supplement this
pleading

XII.
PUNITIVE AND EXEMPLARY DAMAGES

Plaintiff will further show that the conduct on the part of Defendants was willful
and wanton, intentional, done with reckless disregard for the rights Of others, and
constitutes gross negligence As a result, Plaintiff is entitled to recover punitive and

exemplary damages in addition to actual damages

XIII.
PRAYER FOR RELIEF

WHEREFORE, Plaintiff requests that Defendants be cited to appear and answer
herein and that on final hearing Plaintiff has judgment against Defendants for an amount

within the jurisdictional limits of this Court together with pre-judgment and post-

 

Plaintt;fj"s Original Petition, Requests for Disclosure, First Set oflnterrogatories Page 8
Requests for Production, and Requests for Admission

Celtiiied Document Number: 72963332 - Page 8 of 36

 

Case 4:17-cV-00227 Document 1-2 Filed in TXSD on 01/25/17 Page 9 of 37 :

judgment interest as provided by law, costs of court, and for such other and further relief,
at law or in equity, to which Plaintiff is justly entitled

XIV.
REQUESTS FOR DISCLOSURE

 

Pursuant to TEX. R. ClV. P. 194, you are requested to disclose the information or
material described in TBX. R. CIV. P. 1942 within fifty (50) days of service of same
XV

RULE 193.'7
NOTICE OF INTENT TO USE DISCOVERY DOCUMENTS

 

Pursuant to TEX. R. CIV. P. 193.7, Defendants are hereby notified that Plaintiffs
reserve the right to use any and all documents Defendants produce in response to any

discovery requests in all pretrial proceedings and at the time of trial.

XVI.
DEFINITIONS

Plaintiffs set forth the following definitions or abbreviations of various words and
phrases contained in the lnterrogatories, Requests for Production, and Requests for
Admission. Plaintiffs provide the following definitions and abbreviations to clarify the
meaning of various words and phrases contained herein to expedite discovery, i.e. (1) to
help the Defendants fully and accurately understand the objectives of Plaintiffs'
discovery efforts and (2) to simplify and assist the Plaintiffs in Plaintiffs' efforts to locate
and furnish the relevant information and documents Plaintiffs expressly stipulate and
agree that an affirmative response on the part of Defendants will not be construed as an
admission that any definition or abbreviation contained hereto is either factually correct

or legally binding on Defendant

 

Plaintr]f’s Original Petition, Requests for Dz'sclosure, First Set of lnterrogatories Page 9
Requests for Production, and Requests for Admissr'on

Certified Document Number: 72963332 - Page 9 0f`36

 

Ceitified Document Nurnber: 72963332 - Page 10 of 36

 

Case 4:17-cV-00227 Document 1-2 Filed in TXSD on 01/25/17 Page 10 of 37

A. DEFENDANT OR DEFENDANTS: As used herein, the term ”Defendant"
or "Defendants" means the named Defendants answering these requests as
Well as his / its / their attorneys agents employees representatives and all
other natural persons or business or legal entities acting, or purporting to
act, for or on your behalf whether authorized to do so or not.

B. EMPLOYER refers to Defendant WERNER, its departments agencies and
subdivisions employees drivers independent contractors owner
operators trip lessors and their attorneys investigators brokers agents or
any other representatives This includes Defendant l\/lAl-l`ER hereafter
sometimes referred to as ”DRIVER.”

C. MULTIPLE PART ANSWERS: When an individual lnterrogatory calls for
an answer that involves more than one part or subpart, each part of the
answer should be set forth separately so that it is clearly understandable
and responsive to the respective lnterrogatory or subpart thereof

D. YOU OR YOUR: When the terms "you” or ”your" are used in the requests
or instructions it is meant to include the person(s) referenced in definition
”A” above, i.e. the named Defendants responding to these requests as well
as his / its / their attorneys agents employees representatives and all other
natural persons or business or legal entities acting, or purporting to act, for
or on your behalf whether authorized to do so or not.

E. WRITING OR WRITTEN: rl`he terms ”writing” or ”written" are intended
to include, but not necessarily be limited to, the following hand writing,
type writing, computer printouts printing, photograph, and every other
means of recording upon any tangible thing or any form of communication
including letters words, pictures sounds or symbols or combinations
thereof; and they further include any oral communication later reduced to
writing or confirmed by a letter.

F. DOCUMENT(S): The term ”documents" shall mean writings of every type
and from any source, including originals and non-identical copies thereof,
that are in your possession, custody, or control or known by you to exist.
This would include documents sent outside your organization to any
source as well as documents intended for internal use

The term also includes communications not only in words but also in
symbols pictures sound recordings film, tapes and information stored in,
or accessible through, computer or other information storage or retrieval
systems lt the information is kept in a computer or informational retrieval

 

Plaz'ntz`jj”s Orz'ginal Petz'tion, Requests for Dz'sclosure, First Set of lnterrogatories Page 10
Requests for Production, and Rerjuests for Adm.ission

 

 

Certified Documeiit Number: 72963332 ~ Page ll of 36

 

Case 4:17-CV-00227 Document 1-2 Filed in TXSD on 01/25/17 Page 11 of 37

system, the term also includes codes and programming instructions and
other materials necessary to understand such systems

The term includes but is not limited to, calendars checkbooks agenda,
agreements analyses bills invoices records of obligations and
expenditures corporate bylaws and charters correspondence, diaries files
legal documents financial documents including balance sheets and profit
and loss statements letters memorandum recording telephone or
in-person conferences manuals books press releases purchase orders
records schedules memos of interviews evaluations written reports of
tests or experiments public relations releases telegrams teletypes worl<
papers drafts of documents and all other writings whose contents relate to
the subject matter of the discovery request

G. COMPLETE AND CLEARLY READABLE COPIES: As used herein, the
phrase ”complete and clearly readable copies” means copies that are not
reduced in size, unless the document being copied exceeds the size of
normally available copy paper and is a complete copy of the document
clearly readable to the average person Plaintiffs requests that each
document that is reproduced by copy methods to satisfy this request be
reproduced on one page (one document per page), separate and apart from
all other documents produced lf the copies reproduced to satisfy any
request herein are not clearly readable, Plaintiffs request the originals be
produced for purposes of viewing and copying by the Plaintiffs. The
originals will be timely returned to the producing Defendants.

H. PHOTOGRAPH: ”Photograph" means and includes any motion picture,
still picture, transparency, videotape, drawing, sketch, electronic image,
negatives or any other recording of any non-verbal communication in

tangible form.

I. PERSON: ”Person” as used herein means an individual, corporation,
partnership, association, trust, governmental entity, and any otherwise
described entity.

]. PERSON(S) IDENTITY: When an lnterrogatory requests that you identify
a person please state:

1. His or her full name;

 

2. His or her present or last known address
3. His or her present employer’s name and address and
Plaintijj”’s Original Petition, Requests for Disclosure, First Set ofluterrogatories Page 11

Requests for Production, and Requests for Adim'ssion

 

 

Certified Document Number: 72963332 - Page 12 of 36

Case 4:17-cV-00227 Document 1-2 Filed in TXSD on 01/25/17 Page 12 of 37

4. His or her occupational position or classification

I(. CUSTODIAN: ”Custodian" means the person or entity with care, custody,
or control of the item or document that is the subject of inquiry. A request
to identify the Custodian of any item or document is a request to provide
the name, address and telephone number of said Custodian.

L. IDENTIFY or IDENTIFICATION:

l. As to a person: When used in reference to a person or individual,
the terms ”identify” or ”identification" mean to state his/ her full
name, address and telephone number.

2. As to an entity: The terms “identify” or identification” when used
in reference to an entity such as a corporation, partnership or
association mean to state the name of the entity, its business address
telephone number, the name of its chief executive officer, and the

agent for service of process

3. As to a document When used in reference to a document the terms
”identify" or l’identification" shall include the following:

a. The title, heading or caption of such document

b. The date appearing on such document or, if no date appears
the approximate date on which the document was prepared

c. A general description of the document

d. The name of the person who signed the document or
statement that it was unsigned.

e. Name of the person or persons who prepared the document

g. Name of the person or persons to whom the document was
addressed and to whom the document was sent

h. The physical location of the document

4. As to a statement When used in reference to a statement the terms
"identify” or ”identification” shall include:

 

Plaz'ntr']f's Origiual Petition, Requesi'sfor D:`sclosure, First Set oflnterrogatories Page 12
Requests for Production, and Requests for Admissz'on

 

 

 

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Case 4:17-cV-00227 Document 1-2 Filed in TXSD on 01/25/17 Page 13 of 37

a. who made the statement;
b_ who took or recorded it;
c. all others if any, present during the making thereof
d. a statement as to when, where, and how it was taken or
recorded ;
e. the identify of who was present; and
f. the last known possession, custody or control thereof.
5. To any other tangible thing: When used in reference to any other

tangible thjng, the terms ”identify" or ”identification” meant

a. to give a reasonably detailed description thereof, including, if
applicable, When, where, and how it was made;

b. to identify who made it; and

c. to identify who has present or last known possession,
custody, or control thereof.

M. COLLISION IN QUESTION: Tlie term ”Collision” or ”collision in
question” or similar reference as used herein refers to the Collision or
collision in question described in Plaintitfs' Original Petition, unless
otherwise defined herein, that forms the subject matter of this lawsuit

N. INCIDENT IN QUESTION: The term ”Incident" or ”collision in question”
or similar reference as used herein refers to the Collision or collision in
question described in Plaintiffs' Original Petition, unless otherwise defined
herein, and that forms the subject matter of this lawsuit

O. ACCIDENT FILES AND RECORDS: The term ”Accident Files and
Records” as used herein is intended to have broad reference to all forms of
recorded information, including writings and recordings as defined in TEX.
R. EVID. 1001, and includes written or recorded statements reports
memorandums correspondence, maps diagrams pictures blueprints
plats and other related objects and documents inclusive of any documents
letters to or from or records and reports required from the Defendants by
other organizations state, and / or federal governmental agencies

 

Plaintz]jf’s Origt'nal Petitz'on, Requests for Dz`sclosure, First Set oflnterrogatories Page 13
Requests for Productz'on, and Requests for Admission

Certitied Document Number: 72963332 ~ Page 13 of 36

 

Certiiied Document Number: 72963332 - Page 14 of 36

Case 4:17-cV-00227 Document 1-2 Filed in TXSD on 01/25/17 Page 14 of 37

P. STATEMENTS: The term ”statements" includes any written or graphic
statement signed or otherwise adopted or approved by the person making
it and any stenographic, mechanical, electrical, or other recordings or a
transcription thereof, that is a substantially verbatim recital of an oral
statement by the person making it and contemporaneously recorded

Q. VEHICLE IN QUESTION: The terms "vehicle” or ”vehicle in question”
means the vehicle driven by Defendant MAHER at the time of the collision
in question

R. DRIVER: As used herein, the term ”Driver or Drivers” means any person
employed, or contracted for or with, by Defendant WERNER including
persons known as co~drivers independent contractors owner operators or
trip lessors and includes persons furnished to Defendant WERNER as
drivers by any other person or organization who perform driving services
for or on behalf of Defendant WERNER. l\lote, this pertains only to the
vehicle involved in the collision made the basis of this suit

S. DRIVER’S QUALIFICATION FILE: As used herein, the term ”Driver’s
Qualification File” means those records specifically required to created and
maintained by EMPLOYER on any driver who performs services or work
for or on behalf of EMPLOYER.

T. DRIVER’S PERSONNEL FILE: The term ”Driver’s Personnel File”, as used
herein, means any and all files records communications or documents
created by a driver, EMPLOYER or any other person or organization that
contains documents directed to, received from or about a driver.

U. TRIP ~ OPERATIONAL DOCUMENTS: The term ”trip” as used herein
includes travel from a point of origin to a point of destination and return to
the point of origin including all stops in conjunction therewith

The meaning of the term ”Operational Documents" as used herein applies
to the records generated for each trip made by DRIVER during the time
period requested

V. HOURS OP SERVICE RECORDS: As used herein, the term ”Hours of
Service Records” means any and all documents created by DRIVER
including, but not limited to, driver's record of duty status or drivers’ daily
logs time worked cards or other time worked records or summaries
El\/,[PLOYER’s administrative driver’s record of duty status or log audits or
summaries along with any records or reports of violations rl`his specifically

includes all advice, reprimands or warnings given or sent to DRIVER
created by or on behalf of EMPLOYER.

W. MAINTENANCE FILES AND RECORDS: As used herein, the term
”l\/laintenance Files and Records" means those documents required to be

 

Plaintij_‘j”s Original Petition, Requests for Disclosure, First Set of lnterrogaturies Page 14
Requests for Production, and Requests for Admz'ssion

 

Certified Document Nuniber: 72963332 - Page 15 of 36

 

Case 4:17-cV-00227 Document 1-2 Filed in TXSD on 01/25/17 Page 15 of 37

created and / or maintained by EMPLOYER including, but not limited to, all
daily condition reports all systematic and annual inspections work or
repair orders list of add-ons and / or take~offs of equipment parts and
accessories accounting records bills or notes of repairs or maintenance
and all summary type maintenance documents prepared by EMPLOYER or
other agencies or organizations inclusive of any summary or computer-
generated type systematic lubrication, inspection and maintenance records
and documents in the possession of any of the Defendants on VEHICLE lN
QUESTION. This definition specifically includes any and all driver daily
condition reports created by any driver and maintenance files and records
maintained by and in the possession of any other person or organization
performing maintenance services for or on behalf of any of the Defendants
applicable to the time period requested

XVII.
INTERROGATORIES

Pursuant to TEX. R. ClV. P.197, you are requested to answer the following

Interrogatories within fifty (50) days of service of this request

Preliminary Statement

1. The following interrogatories are to be answered separately and fully, by
furnishing all information in your possession, custody or control, including all
information to which you have a superior right to compel from a third party, such as your
agent, authority, or representative

2. You are to answer the interrogatories under oath. Your attorney in this case
is not allowed to sign or swear to the answers you have made to the interrogatories

3. You and your attorney are under a duty to supplement your answers to
these interrogatories by amending your answers if you obtain information upon the basis
of which you know that the answer was incorrect when made or you know that the
answer is no longer true, even though it was correct when made.

4. Whenever an interrogatory requests the identification of a document or
documents please set forth where the document exists the name and address of its
custodian, a description of its contents including its author, date, and addresses the
number of pages it contains and all attachments to the original document

5. lf the answer to any interrogatory may be derived or ascertained from your
business records and the burden of deriving the answer would be substantially the same

 

Plaintiff’s Original Petition, Requestsfor Disclosure, First Set offnterrogatories Page 15
Requests for Production, and Requests forAdmission

 

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Case 4:17-cV-00227 Document 1-2 Filed in TXSD on 01/25/17 Page 16 of 37

for Plaintiffs and you, you may specify the records from which the answer may be
obtained.

Interrogatories

1. For Defendant MAHER state his fuii and complete name, any ru`cl<names he has
used, or been known by, date of birth, social security number, his present home
address telephone number and, if different his complete home address and
telephone number at the time of the collision in question

 

2. For Defendant WERNER, is Defendant incorporated under the laws of any state
or foreign country or is the Defendant’s organization (company, corporation etc.)
a wholly owned subsidiary of another legal entity? If so, please state the name and
address of the legal entity and the following information:

a. The state and / or county of registration;

b. The address of its principal place of business or registered office;
c. The date of commencement of business by the corporation;

d. The business in which it is authorized to engage; and

e. Legal status

3. Please identify and describe every step, means and action taken by Defendant
MAHER to warn, alert, or notify drivers approaching on the roadway of the
presence and location of the both the tractor and trailer at the time of the incident
made the basis of this cause of action, mcluding, but not limited to the specific
location and placement of any such notice or warning

4. Please state the complete name, address and telephone number of Defendant
MAHER's present employer indicating the date of employment present job
position, and description

5. Did Defendant MAHER and / or Defendant WERNER make a report in writing to
any other person or organization in reference to the collision in question? If so,
please state:

a. The identity of the person preparing each such report,'

b. The identity of the person(s) or organization(s) for which the report(s) were
prepared; and

 

Plaz`ntiff’s Original Petition, Requests for Disclosure, First Set of Interrogatories Page 16
Requests forProduction, and Requestsfor Admission

Certified Document Number: 72963332 - Page 16 of 36

 

 

Case 4:17-cV-00227 Document 1-2 Filed in TXSD on 01/25/17 Page 17 of 37

c. The identity of the present custodian of copies of each such report.

6. At the time the collision in question occurred, was Defendant MAHER employed?
If so, please state the following as to such employment

a. The identity of each employer including their complete name(s) and
address(es);

b. The identity of the person who was Defendant MAHER’s immediate
supervisor in reference to services you performed;

c. The beginning and ending dates of Defendant MAHER’s employment or
present status of employment and

d. What Defendant MAHER’s job position and duties were with respect to
each employment

7. Please list each state that has issued Defendant l\/[AHER a motor vehicle driver’s
license in the last ten (10) years including those licenses that may have now expired
or been canceled, Withdrawn, suspended, surrendered, or revoked listing the
name of each issuing state and the approximate date of issuance and status for
each license held.

8. If Defendant MAHER has entered a guilty plea to any offense or has been
convicted of a felony or a crime involving moral turpitude within the last ten (10)
years identify any such offense or crime by its nature, date of the guilty plea or
conviction, penalty assessed, and the county and state wherein the offense or crime
occurred

9. Please state each and every address Where Defendant MAHER has resided in the
last ten (l(}) years setting forth the approximate dates of your residence at each
such address

10. List all traffic violations for which Defendant MAHER has been cited during the
past seven ('7) years including the date, city, county, state, offense alleged, and
disposition of each such citation

11. List all motor vehicle collisions in which Defendant MAHER has been involved in
the past seven (7) years including the location, city, county, state, and any
violations for which you were cited.

 

Plaintrff’s Original Petition, Requ.ests for Dfsclosure, First Set oflnterrogatories Page 17
Requests for Production, and Requests for Admz'ssion

Certifled Document Nuniber: 72963332 - Page 17 of 36

 

 

 

 

Ceitified Document Nuniber: 72963332 - Page 18 of 36

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Case 4:17-cV-00227 Document1-2 Filed in TXSD on 01/25/17 Page 18 of 37

Please state the name, address and telephone number of any expert(s) with whom
you or your attorneys have consulted, but whom you do not intend to call as an
expert witness in this case or whom you have not decided to callas an expert
witness in this case, but whose opinion(s) and/ or impression(s) have been
reviewed by any expert who is to be called as a witness at the trial of this case.

Identify by name and amount all intoxicating beverages drugs alcohol, and / or
medications prescription or otherwise, that Defendant MAHER had taken or
consumed within (24) twenty-four hours prior to the collision in question.

Describe in your own words how the collision in question occurred and state
specifically and in detail what the claim or contention of the Defendants will be
regarding any cause or contributing cause of the collision, including a statement
in detail of the facts or information upon which this contention is based.

if you contend Plaintiffs' acts or omissions caused or contributed to the collision
in question, or to their injuries please describe the basis for your position,
including any evidence or statements that support your position.

For Defendant WERNER, please state the name, title, and present or last known
address of the person employed by Defendant WERNER who was in charge of
WERNER’s Driver Safety Program on May 19, 2016.

State the exact location on or about the roadway of the vehicle at all times material
to the collision in question, including specifically the tractor and trailer’s location
at the time of impact, and if any of the tractor or trailer’s lights were engaged
immediately prior to and at the time of impactl

ldentify by cause number, style, court, county, and state each lawsuit to which you
have ever been a party, other than this lawsuit

Give the dates times and places together with the names and addresses of persons
and organizations who have provided drug or alcohol counseling or treatment
marriage counseling or personal counseling to Defendant MAHER in the past ten
(10) years

Specify all mechanical or other defects if any, of the vehicle Defendant MAHER
was driving which caused or contributed to the collision made the basis of this
suit, including, but not limited to, all components of the vehicle which were
inoperable, defective or otherwise in need of repair.

State where Defendant l\/[AI~IER had been during the seven (7) days immediately
prior to the collision, where Defendant MAl-IER was going at the time of the

 

Plaz'nti]j"s Original Petition, Requests for Disclosurc, Fz'rst Set of lnterrogatories Page 18
Requests for Production, and Requests for Admission

Certified Document Number: 72963332 ~ Page 19 of 36

 

Case 4:17-cV-00227 Document1-2 Filed in TXSD on 01/25/17 Page 19 of 37

collision, and the purpose of the trip that Defendant MAHER was on at the time
of the collision made the basis of this suit, identifying as part of your answer the
time, date, purpose, and duration of every stop made during the specified time.

XVIII.
REQUESTS FOR PRODUCTION

Pursuant to TEX. R. CIV. P.196, you are requested to produce the following
information within fifty (50) days of service of this request Demand is hereby made for
supplementation of the Defendants’ responses to this Request for Production as required
by Tsx. R. Civ. P.193.5.

Preliminarv Statements

 

1. lf a requested document once was but is no longer in the possession,
custody or control of Defendants or any of its representatives state what disposition was
made of such document

2. ff any of these requests cannot be responded to in full, please respond to
the extent possible, specifying the reason for Defendant’s inability to fully respond, and
stating whatever information or knowledge Defendants have concerning the portion to
which Defendants cannot fully respond.

3. Pursuant to Ot)erall n Southu)estem Lee Yellow Pages a party is required to
send the documents to the requesting party along With a copy of the response. Unless
there are thousands of documents a party is not permitted to merely make documents
available at a specific location. 869 S.W.Zd 629 (Tex. App.-Houston [14th Dist.] 1994).

4. You are not asked to divulge or provide any information or documents
Which are privileged in nature. However, for each document or other requested
information that you assert is privileged or is not discoverable, identify that document or
other requested information State the specific grounds for the claim or privilege or other
ground for exclusion

Requests for Production

 

1. Complete and clearly readable copies of all trip and / or operational documents (see
Definition ”H") pertaining to the movement of cargo by DRIVER and/ or any of his
accompanying co~driver(s), or driver trainers from 30 days before the collision in
question through the delivery date and time of the cargo he may have been

 

Plafnti)j"s Original Petitr'on, Requests for Dz'sclosure, l-`irst Set oflnterrogatories Page 19
Requests foi'Productt'on, and Requests for Admission

 

 

 

Certified Docurueut Number: 72963332 - Page 20 of36

l li l

Case 4:17-cV-00227 Document1-2 Filed in TXSD on 01/25/17 Page 20 of 37

transporung at the time the collision occurred Please refer to the following sub-
Definitions "l-l-l through H-l?” and follow them closely grouping and identifying
all documents produced by each trip occurring during the time period requested:

H~l. Complete and clearly readable copies of DRIVER’s trip reports and / or trip
envelopes daily loads delivered or picked up reports or any otherwise described
work reports work schedule reports fuel purchased reports or any reports made by
DR]VER to EMPLOYER, inclusive of daily, weekly, or monthly cargo transported,
time and/ or distance traveled reports or work records excluding only those
documents known as ”driver’s daily logs or driver's record of duty status”.

H-?_. Complete and clearly readable copies of all receipts for any trip expenses or
purchases made by DRIVER or his co-driver during a trip regardless of type of
purchase, such as fuel, weighing of vehicles food, lodging equipment maintenance,
repair or equipment cleaning, special or oversize permits bridge and / or toll roads
loading or unloading cost, and all otherwise described receipts regardless of the type
of objects or services purchased

l-l-B. Complete and clearly readable copies of all cargo pickup or delivery
documents prepared by any of the Defendants transportation brokers involved
shippers or receivers motor carriers operations / dispatch personnel, drivers or other
persons or organizations relative to the cargo lransported and the operations of
DRIVER.

H-fi. Complete and clearly readable copies of any and all written requests letters
memoranda, instructions or orders for transportation of cargo prepared by
Defendants transportation brokers involved shippers or receivers motor carriers
operations /dispatch or sales personnel, drivers or other persons or organizations
relative to the operations and cargo transported by DRIVER.

H-S. Complete and clearly readable copies of all bills of lading and/ or cargo
manifest prepared or issued by any shippers brokers transporting motor carriers
personnel, receivers of cargo or any of the Defendants This specifically includes
readable and complete copies of bills of lading, manifest or other documents
regardless of form or description, that show signed receipts for cargo delivered along
with any other type of document that may show dates and times of cargo pickup or
delivery that are relative to the operations and cargo transported by DRIVER.

l-l-6. Complete and clearly readable copies of all equipment or cargo loading
unloading or detention of equipment records along with any other documents
showing cargo pickup and / or delivery dates and times or delays and / or detention
of equipment relative to the operations of DRIVER.

 

Plaintijj"s Original Petition, Requests for Disclosure, First Set of Interrogatories Page 20
Requests for Production, and Requests for Admissi`on

 

 

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Case 4:17-cV-00227 Document 1-2 Filed in TXSD on 01/25/17 Page 21 of 37

H~?. Complete and clearly readable copies of all cargo transported freight bills
Pro’s or otherwise described similar documents inclusive of all signed or unsigned
cargo pickup and delivery copies that indicate date and/ or time of pick up or
delivery of cargo by DRIVER or his co-driver(s).

H-S, Complete and clearly readable copies of all written instructions orders or
advice given to DRlVER in reference to cargo transported, routes to travel, locations
to purchase fuel, cargo pickup or delivery times issued by EMPLOYER, shippers
receivers or any other persons or organizations

H~9. Complete and clearly readable copies of dispatch and / or operational records
indicating assignment of equipment and drivers to specific cargo pickup,
transportation and delivery, dates and times of pickup and delivery, movement of
cargo, shippers and receivers of cargo, and any other related operational records or
documents regardless of form. This specifically includes all dispatch and
operational type computer-generated documents and materials indicating the trips
cargo, movements or activities of DRIVER.

l-I-i(]. Complete and clearly readable copies of any driver (see Definition ”E”) call-in
records or otherwise described written records indicating any communications
between EMPLOYER and DRIVER.

H~ll. Complete and clearly readable copies of all accounting records merchandise
purchased, cargo transportation billings or invoices and subsequent payments or
otherwise described records indicating billings for transportation of cargo or
payment for services performed for El\/[PLOYER by DRIVER and / or his co-drivers.

H-lZ. Complete and clearly readable copies of all initial or rough driver's (see
Definition ”E”) trip check-in or financial settlement sheets along with all final trip
accounting documents and computer-generated documents or printouts showing
expenses and payment(s) for service (s) or salary paid to DRIVER (see Definition ”E”)
in reference to DRIVER's trip(s). This specifically includes any summary type
documents showing all payments made to DRIVER and / or his co-drivers regardless
of the purpose of payment or period of time payment was made for.

H-13. Complete and clearly readable copies of any and all motor carrier or driver
(see Definition ”E") created trip fuel mileage and purchase reports or records This
specifically includes all documents and computerpgenerated documents regardless
of form or subject, received from any source such as the organization known as
”Comchek" or generated for or by El\/[PLOYER showing date, time, and location of
fueling or other purchases by DRIVER and/ or his co-drivers While on the trips
requested herein

 

Celtified Document Number: 72963332 - Page 21 of 36

Plaintz'jj"s Original Petitz`on, Requests for Disclosure, ]Fz'rst Set of lnterrogatories Page 21
Requests for Production, and Requests for Ad:m'ssion

 

 

Certiiied Document Number: 72963332 - Page 22 of 36

l l li

Case 4:17-cV-OO227 Document1-2 Filed in TXSD on 01/25/17 Page 22 of 37

H~14. Complete and clearly readable copies of all checks or otherwise described
negotiable instruments issued to DRIVER or his copdriver(s) (see Definitions ”D” and
”E”) given in payment as trip advances loans or for any other purpose inclusive of
checks issued for employee payroll, and / or for owner / operator or trip lessors
services in the possession of any of the Defendants Specifically copies of both the
"front and back” of each check and / or Comchek issued to DRIVER, or any of his co-
drivers is requested

H-15. Complete and clearly readable copies of any and all state fuel or oversize
special permits and any related documents or requests issued to or by any state
agency to transport cargo over their territories regardless of the form of the permit
The receipt acknowledging payment for the permit(s) issued by any governmental
agency is specifically requested that relate to the movements of DRIVER and / or his
co-drivers during the requested time period

H~16. Complete and clearly readable copies of any and all trip leases or trip lease
contracts involving DRIVER and / or his co-drivers along with all related
documentation issued to or created or received by any of the Defendants
Specifically, this includes any trip leases negotiated between the Defendants and any
other motor carrier or their drivers inclusive of all related documentation thereto.
Basically, ”related documentation” consists of any documents created or generated
in reference to each trip lease(s) and in addition, driver's daily logs or record of duty
status driver's daily condition reports motor carrier certification of drivers
qualification and include other documents that relate to the billing and payment for
such movement of freight, along with all other types of documentation regardless of
form or description that are relative to each occurrence involving the services and
activities of DRIVER and / or his co-drivers and,

H-l'?. Complete and clearly readable copies of any and all other ”operational or trip
related documents" (see Definition ”H”) created or received by the Defendants or
any other persons or organizations regardless of form or description and not defined
herein, in the possession of any of the Defendants and relative to the operations
activities movements cargo and trips accomplished by DRIVER and/ or his co-
drivers during the time period requested

2. Complete and clearly readable copies of the ”Driver Quali_fication File” (see
Definition ”F") maintained by any of the Defendants on DRIVER along with any
other documents contained therein, in their precise state of existence on the date of
the collision. Please refer to the following sub~Definitions ”F-l through F-13” herein
and follow them closely:

F-l. Any pre-employment questionnaires or other documents secured from
DRIVER prior to employment

 

Plaintsz’s Or“iginal Petition, Requests for Disclosure, Fz'rst Set of Interrogntories Page 22
Requests for Productz'on, and Requests for Admission

 

 

Certified Docurnent Number: 72963332 - Page 23 of 36

lj |

Case 4:17-cV-OO227 Document1-2 Filed in TXSD on 01/25/17 Page 23 of 37

F-2. Any and all completed applications for employment secured both before
and / or after the actual date of contract or employment of DR[VER.

F-3. A]l medical examinations drug tests and certification of medical
examinations inclusive of expired and non-expired documents relative to DRIVER.

F~4. All of DRlVER’s annual violation statements which should include one for
each twelve months of contract or employment with the Defendant motor carrier in
this case.

F-5. All actual driver’s motor carrier road tests administered to DRIVER.
F-é. All actual driver’s motor carrier written tests administered to DRIVER.

F-'7. All road and written test certificates issued by EMPLOYER or any other
motor carrier or organization to DRIVER regardless of the date issued or the
originator of such certificates

F-S. All past employment inquiries sent to or secured from former employers
along with all responses received from former employers inclusive of all U. S. maii,
personal contact, or telephone inquiries and results directed to or received by
EMPLOYER from past employers of DRIVER.

F-9. All inquiries to and answers received from any organization in reference to
the driver's license record of traffic violations and automobile collisions directed to
and/ or received by any of the Defendants or other organizations on behalf of
defendants from state or federal governmental agencies or other organizations
relative to DRIVER’s traffic and collision record

F-iO. Copies of all road or written test cards medical cards motor carrier
certification of driver qualification cards and any other motor carrier transportation
related cards in the possession of any of the Defendants regardless of card issuance
date or origin. This specifically includes cards as previously described herein, issued
by other motor carriers to DRl\/"ER or his co-drivers presently in their personal
possession

F~ll. All annual reviews file reviews or file summaries and related documents
found in the driver qualification file of DRIVER.

F-12. All documents relative to any drug testing of DRIVER.

 

Plaintijf's Orr'gr'nal Petition, Requests for Disclosure, I-`z`rst Set of Interrogatorr`es Page 23
Requestsfor Production, and Requestsfor Admission

 

 

Certiiied Document Nurnber: 72963 332 - Page 24 of 36

ii l jr

Case 4:17-cV-OO227 Document1-2 Filed in TXSD on 01/25/17 Page 24 of 37

F-13. Any and all other contents of DRIVER’s driver qualification file, regardless of
subject, form, purpose, originator, receiver, title, or description

3. Complete and clearly readable copies of any and all other documents added to
DRIVER’s ”Driver Qualification File” (see Definition ”F”) from the date of the
collision to the present date as presently maintained by EMPLOYER. Please identify
and produce such documents separate and apart from the documents requested in
Request Number 2 herein.

4. Complete and clearly readable copies of the ”Driver Personnel File” (see Definition
“G”), and/ or any otherwise titled files on DRIVER or in reference to DRIVER’s
services from initial contract or employment with EMPLOYER to the present date.
Please refer to the following sub~definitions G~l through G-5 and follow them
closely:

G-l. Applications for employment owner/operator, or other types of contracts
agreements payroll or money advanced records attendance records Cornputer-
generated documents and any other summary type document regardless of subject,
description or form relative to DRIVER or the services performed by DRIVER.

G-2_ Hiring, suspension, termination, warning notices complaints letters
memorandums and any other similar type documents relative to DRIVER.

G-B. Prior industrial, vehicular, cargo, hazardous materials incidents health or
accident reports or other types of injury, sickness accidents or loss reports or
records inclusive of cargo shortage or damage reports along with all related
documents to each such sickness incident or accident that relate to DRIVER.

G-{-L FOl\/ICSFO (see Definition ”O”) or other law enforcement agencies terminal
audits or roadside equipment and / or driver inspections reports traffic citations or
traffic warnings inclusive of any of the Defendant's file reviews or summaries of

violations of company, state or federal laws rules or regulations committed by
DRIVER.

G~5. Any and all other documents found in such a file regardless of description,
title, form, origin, or subject maintained by the Defendants in reference to DRIVER,
excluding only those documents required by the FMCSR Part 391, Driver
Qualifications, (see Definition ”F”) defined in Request #2, sub-definitions ”F-l
through F~13” herein

5. Complete and clearly readable copies of any state or FMCSA (see Definition ”O”)
issued terminal audits road equipment and/ or driver compliance inspections or
warnings and traffic citations issued in reference to the activities of DRIVER, his co-

 

Plainti)j"s Original Petition, Requestsfor Disclosure, Fz'rst Set of Interrogatories Page 24
Requests forProductz'on, and Requests for Admissr'on

 

 

Certiiied Docurnent Number: 72963332 - Page 25 of 36

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Case 4:17-cV-OO227 Document1-2 Filed in TXSD on 01/25/17 Page 25 of 37

drivers or driver trainers by any city, county, state or federal agency or law
enforcement official in the possession of any of the Defendants This request
specifically includes any documents issued by any governmental agencies or officials
in reference to violations of any State or Federal Motor Carrier Safety or Hazardous
l\/laterials Regulations (see Definitions ”l\/l" or ”N”) that may have been issued in
reference to the activities of DRIVER or his co~drivers or driver trainers from january
1, 2009 to the present date.

6. Complete and clearly readable copies of all objects photographs drawings reports
statements or otherwise described documents or objects in the possession of any of
the Defendants in reference to the accident as defined herein ”excluding only” those
written documents materials and objects that can be clearly identified as the work
product of the Defendant’s attorneys This specifically includes any and all reports
and written or electronically recorded statements made by any of the Defendants to
any other person, organization, or governmental entity. Please refer to Definition
”C" herein and follow it closely.

7. Cornplete and clearly readable copies of any and all other accident or incident files
and records (see Definition ”C”) maintained by any of the Defendants in reference
to any other vehicular accident or incident prior to the occurrence of the collision in
question, where DR[VER, his co-driver(s), or driver trainer, was the driver of a
vehicle involved in the prior accidents or incidents

8. Complete and clearly readable copies of all driver’s record of duty status or driver’s
daily logs and 70/ 60 hour ~ 8 / 7 day summaries (see Definition ”K”) or otherwise
described work time records created by DRIVER and / or any of his co-driver(s) for
the period from thirty days before the date of the collision through the date of the
collision in accordance with FMCSR Part 395 (see Definitions ”l\/l” and ”N”) in the
possession of any of the Defendants

9. Complete and clearly readable copies of any and all El\/H’LOYER officers executives
or administrator's notices directives bulletins publications and manuals of any
type or otherwise described written instructions in reference to the day-to~day motor
carrier operating and safety procedures to be followed by their company personnel,
managers supervisors dispatchers and drivers Specifically, any document relative
to disciplinary policies procedures or warnings for parking, standing, Stopping,
mechanical failure, motor fleet safety, or failure to comply with the FMCSR (see
Definitions "M" and "l\l”) in existence and effective at El\/[PLOYER on the date of the
collision

10. Complete and clearly readable copies of all maintenance files and records (see
Definition ”L”) from ]anuary l, 2010 through DOL maintained by any of the
Defendants in accordance with the FMCSR/TXMCSR, Part 396 (see Definitions ”l\/l”

 

Plaz`ntr`jj”s Original Petition, Requestsfor Disclosure, First Set oflnterrogatorr`es Page 25
Requests for Productirm, and Reqzrests for Admission

 

 

Cel'tiiied Docament Number: 72963332 - Page 26 of 36

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Case 4:17-cV-00227 Document 1-2 Filed in TXSD on 01/25/17 Page 26 of 37

and ”N”) on the Tractor (see Definition ”I”] involved in the collision inclusive of any
inspections repairs or maintenance done to the Tractor. ln addition, all driver daily
vehicle condition reports submitted by any driver(s) on the Tractor, from thirty days
before the date of the collision through the date of the collision in the possession of
any of the Defendants This specifically includes all the driver daily vehicle condition
reports maintenance files and records maintained by any other person(s) or
organization(s) that DRIVER or EMPLOYER may have borrowed, rented, or leased
the Tractor from or who performed maintenance services on behalf of or for
El\/iPLOYl-IR or DRIVER.

Complete and clearly readable copies of the maintenance files and records (See
Definition “L") created from january l, 2009 through the date of the collision
maintained by any of the Defendants in accordance with the Fl\/ICSR/TXMCSR, Part
396 (see Definitions ”M” and ”N") on the Trailer (see Definition "]”) pulled by
DRIVER inclusive of any documents indicating inspections repairs or maintenance
to the Trailer. ln addition, all driver daily vehicle condition reports submitted by any
driver(s), from thirty days before the date of the collision through the date of the
collision in the possession of any of the Defendants This specifically includes all the
driver daily condition reports maintenance files and records maintained by any
other organization that DRIVER or EMPLOYER may have borrowed, rented, or
leased the Trailer from or Who performed maintenance services for or on behalf of

EMPLOYER or DRIVER.

Any and all photographs or other electronic images that contain images of the
underlying facts or that Defendants intend to offer into evidence at trial.

Any and all photographs or other electronic images that contain images of the
underlying facts or that Defendants intend to offer into evidence at trial.

Any and all photographs movies videotapes or other visual reproductions that
Defendants have of the parties persons with knowledge of relevant facts the

facilities mechanisms or items involved, or scene of the collision in question.

All published documents treatises periodicals or pamphlets on the subject of

' medicine, collision reconstruction any engineering field, and any other area of

scientific study that you claim to be a reliable authority which may be used by you
at trial.

All published documents treatises periodicals or pamphlets on the subject of
medicine, collision reconstruction, any engineering field, and any other area of
scientific study that any testifying expert claims to be a reliable authority Which
may be used by you at trial.

 

Plainti]f’s Orig~inal Pet'ition, Requests for Disclosure, First Sct of Interrogatories Page 26
Requests for Production, and Requests for Admission

 

Certiiied Document Number: 72963332 - Page 27 of 36

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Case 4:17-cV-OO227 Document1-2 Filed in TXSD on 01/25/17 Page 27 of 37

All published documents treatises periodicals or pamphlets on the subject of
medicine, collision reconstruction, any engineering field, and any other area of
scientific study that any testifying expert has relied or will rely upon to support
their opinions and mental impressions

All documents reports publications codes and regulations evidencing safety
standards laws regulations ordinances or industry standards which you now
contend or will contend at trial support any defensive theory.

All documents reports publications codes and regulations evidencing safety
standards laws regulations ordinances or industry standards that any Of your
testifying experts have relied or will rely upon to support their opinions and
mental impressions

All documents reports publications codes and regulations evidencing safety
standards laws regulations ordinances or industry standards that any of your
testifying experts claim to be reliable authority which may be used at the time of
trial.

A copy of any contract of employment that would govern Defendants’ relationship
With any other entity or bear on the issue of ”course and scope of employment."

Copies of any and all statements made by Plaintiff concerning the subject matter
of this lawsuit including any written statement signed or otherwise adopted or
approved by Plaintiff and any stenographic, mechanical, electrical, or other type
of recording or any transcription thereof.

Any written, taped, or mechanically reproduced statement made of any Defendant
or Plaintiff.

Any and all statements made by Defendants regarding the collision in question to
his/her insurance company, its employees agents independent contractors
adjusters or representatives not including statements made to Defendant's
attorney.

Any and all drawings surveys plats maps or sketches of the scene of the collision
in question

Any document photographs or other physical evidence that will be used or
offered at trial.

 

Plainti]j"’s Original Petition, Requests for Discl'osure, First Set of Interrogatories Page 27
Requests for Production, and Requests forAdmissz'on

 

 

 

Certified Document Number: 72963332 - Page 28 of 36

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Case 4:17-cV-OO227 Document1-2 Filed in TXSD on 01/25/17 Page 28 of 37

All documents and tangible things (including papers books accounts drawings
graphs, charts photographs electronic or videotape recordings data, and data
compilations) that constitute or contain matters relevant to the subject matter of
this lawsuit

The entire claim and investigation file including, but not limited to, statements
reports videotapes drawings memoranda, photographs and documents
regarding the collision in question generated or obtained by Defendant,
Defendants agents or Defendants' insurers in the ordinary course of business

The entire claim and investigation file including but not limited to, statements
reports videotapes drawings memoranda, photographs and documents
regarding the collision in question generated or obtained by Defendants
Defendants’ agents or Defendants’ insurers before Plaintiff filed Plaintiff’s
Original Petition with the court.

Please produce any and all correspondence, communications letters notes of oral
conversations and all other documents or writings sent to or received from or
exchanged by and between you and your insurance carrier concerning the subject
matter of this lawsuit, including, but not limited to, any damage to you, the vehicle
in Which you were riding, damage to any personal property, and any personal
injuries

All documents correspondence, memoranda, notes or e-mails regarding
communications between your insurance company and the Plaintiff’s insurance
company regarding the collision in question and / or Plaintiff.

A copy of each primary, umbrella, and excess insurance policy or agreement
including the declarations page, which Was in effect at the time of the collision in
question including all non-waiver agreements reservation of rights letters or
other documents or communications regarding any contractual obligations owed

by you.

A copy of each primary, umbrella, and excess insurance policy or agreement,
including the declarations page, which may provide coverage to satisfy all or part
of any judgment which may be rendered in this litigation including all non-waiver
agreements reservation of rights letters or other documents or communications
regarding any contractual obligations owed by you.

Any documents reports photographs or other written records pertaining to any
investigation of the collision in question

 

Plaintijj“’s Original Petition, Requests for Disclosurc, First Set oflnterrogatories Page 28
Requests for Production, and ReqnestsforAdmisst`on

 

 

Certified Documcnt Numbcr: 72963332 - Pagc 29 of 36

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Case 4:17-cV-OO227 Document1-2 Filed in TXSD on 01/25/17 Page 29 of 37

All documents regarding all other claims being currently made against Defendants’
insurance policies for the collision in question other than by Plaintiff.

Any and all settlement agreements deals contracts understandings ”Mary
Carter" agreements or compromises between you or your representatives and any
other party, potential party, or potential third-party defendant to this suit or its
representatives agents or insurers regarding any compromise, settlement,
apportionment of liability or financial responsibility, contingent or otherwise, or
alignment of the parties on any issue with respect to:

The collision in question;

Plaintiff’s damages

The presentation of any testimony;

Whether or how to conduct any cross-examination;

The performance of discovery; and / or

The presentation of any defense, excuse, or inferential rebuttal

res supra

Copies of any document or statement that any witness of Defendants will use or
you anticipate may use to refresh his or her memory, either for deposition or trial.

Any and all documents and tangible things whose production has not been
requested pursuant to any other item of this request which you intend to offer into
evidence at trial.

Any and all documents and tangible things whose production has not been
requested pursuant to any other item of this request which you do not intend to
offer into evidence at the trial of this case, but which may be used as demonstrative
evidence at trial.

Any information relating to any arrest or conviction to be used for impeachment
purposes against any party, witness and / or person with knowledge of relevant
facts named in discovery information provided by or to you before trial. Please
include the name of the person convicted, the offense for which he or she was
arrested or convicted, the year of such arrest or conviction, the court of such
conviction, and the disposition of the case or allegation

Any and all calendars journals diaries logs or notes kept by Defendants covering
the month of the collision in question

All documents regarding Plaintiff’s employment history, status performance, or
compensation obtained by Defendants via an authorization signed by Plaintiff,
subpoena, deposition on written questions or otherwise

 

Plaintz]j"s Original Petitz'nn, Requests for Disclosure, Pz`rst Set oflnterrogatories Page 29
Requests for Productz`on, and Requests for Admz`ssion

 

 

Certiiied Document Number: 72963332 - Page 30 of 36

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Case 4:17-cV-OO227 Document1-2 Filed in TXSD on 01/25/17 Page 30 of 37

All documents regarding Plaintiff’s medical status treatment or history obtained
by Defendant via an authorization signed by Plaintiff, subpoena, deposition on
written questions or otherwise

All documents regarding Plaintiff's financial status earnings history, and tax
payment history obtained by Defendants via an authorization signed by Plaintiffs,
subpoena, deposition on written questions or otherwise

All documents regarding Plaintiff's claims history obtained by Defendants via an
authorization signed by Plaintiff, subpoena, deposition on written questions or
Otherwise.

All documents records reports notations or memoranda regarding Plaintiff from
persons or entities that compile claim information including, but not limited to,
insurance claims unemployment claims social security claims and worker’s
compensation claims

All statements or documents that show the identity of any witness to the collision
in question, or any person with knowledge of relevant facts concerning the
collision in questions the events leading up to it, or any damage sustained by
Plaintiff.

All documents and tangible things which support your contention that:

a. any act or omission on the part of Plaintiff caused or contributed to the
collision in question,'

b. any factor, other than a. above, contributed to or was the sole cause of the
collision in question including but not limited to, acts or omissions of
negligence of any other party or parties or potential third~party
Defendants sudden emergency, unavoidable collision, mechanical defect,
or act of God;

c. any factor caused or contributed to the Plaintiff’s damages including but
not limited to, pre~existing or subsequently existing physical or medical
condition or conditions of Plaintiff;

d. any or all of the medical expenses incurred by Plaintiff for treatment of
injuries allegedly resulting from the collision in question were not
reasonable and / or necessary;

e. Plaintiff's injuries were not the result of or caused by the collision in
question

Any records or documentation (medical or non-medical) which would indicate
that you had alcohol and / or drugs (including prescription or non-prescription,

 

Plainti]j"s Orz`ginal Petition, Reques tsfor Disclosnre, Fz'rst Set of fnteirogatories Page 30
Reqaests forProdaction, and Reanests for Admission

 

 

 

Certitied Docunient Number: 72963332 - Page 31 of 36

Case 4:17-cV-OO227 Document1-2 Filed in TXSD on 01/25/17 Page 31 of 37

legal or illegal) in your bloodstream or urine at the time or immediately following
the collision in question

50. Any records or documentation (medical or non-medical) which would indicate
that you were a regular user of marijuana within one (1) year preceding the
collision in question

51. Any records or documentation (medical or non~medical) which would indicate
that you were a regular user of any illegal substance within one (1) year preceding
the collision in question

52. Copies of any and all vehicle registrations and titles state permits purchase orders
and specifications for the vehicle

5 3. Copies of any and all collision reports for collisions in which the vehicle was involved
including the collision in question

54. Copies of any and all repair orders damage estimates appraisals and maintenance
records for the vehicle for the six (6) months preceding the collision in question
through three months after the collision in question

55 , Copies of Defendant MAHER's current and past driver's licenses front and back.

56. Cornplete and clearly readable copies of any and all created electronic or satellite
“Vehicular movement recording documents or records" such as QualCornml
HighwayMaster, American l\/lobile Satellite Corp., OrnniTracs or any similar
organizations records along with any Tractor trip recorder computer~generated
documents tachograph charts computer-generated trip printouts or any
otherwise described documents generated by whatever means in reference to the
physical movement and geographical locations at a certain time and date of the
Tractor and / or Trailer involved in the collision for the two weeks prior to the
collision forming the basis for this suit through two weeks subsequent to the
collision forming the basis for this suit (date of collision inclusive). This request
specifically includes Defendant's records from its OmniTracs interactive
satellite communications network linking every vehicle in its fleet.

XIX.
REQUESTS FOR ADMISSION

 

Pursuant to TEX. R. CIV. P. 198, you are requested to answer the following

Requests for Admission within fifty (50) days of service of this request

 

Plaintij's Orig~inal Petition, Reqaests for Disclosure, First Set of Interrogatories Page 31
Reqaests far Prodnction, and Reqnests for Adinission

 

 

 

 

Certitied Document Number: 72963332 - Page 32 of 36

Case 4:17-cV-00227 Document 1-2 Filed in TXSD on 01/25/17 Page 32 of 37

Requests for Admission

 

1. Admit that the collision in question occurred on l\/lay 19, 2016 in Harris County,
Texas.

2. Admit that Defendant MAHER was involved in a collision with the vehicle
occupied by Plaintiffs on May 19, 2016.

3. Admit that you owned the vehicle operated by Defendant MAHER at the time of
the collision in question.

4. Admit that you controlled the vehicle operated by Defendant MAHER at the time
of the collision in question

5. Admit that you managed the vehicle operated by Defendant MAHER at the time
of the collision in question

6. Admit that you were responsible for the proper maintenance of the vehicle
operated by Defendant MAI-IER at the time of the collision in question

7. Admit that Defendant l\/lAHER failed to maintain a proper distance from other
vehicles on the roadway at the time of the collision in question

8. Admit that you failed to provide reasonable and competent supervision over
Defendant MAHER.

9. Admit that you failed to provide reasonable and competent supervision over the
vehicle in question

10. Admit that you failed to properly maintain the vehicle.

11. Admit that you failed to make necessary safety and maintenance inspections to
apprise yourselves of any safety and maintenance issues with the vehicle.

12. Admit that you failed to maintain the vehicle’s brakes in good working order.

13. Admit that you failed to prudently exercise control over Defendant l\/lAl-IER.

14. Admit that you failed to prudently exercise control over the vehicle.

15. Admit that you failed to keep the vehicle within a proper speed in traffic

Plaintsz’s Original Petition, Requests for Disclosure, Pz'rst Set oflnterrogatories Page 32

Requests foi'Production, and Requests for Admission

 

 

 

Certit'ied Document Numbcr: 72963332 - Page 33 of 36

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Case 4:17-cV-00227 Document 1-2 Filed in TXSD on 01/25/17 Page 33 of 37

 

16. Admit that your failure to keep the vehicle within a proper speed in traffic was a
cause of the collision in question

17. Admit that you failed to use the vehicle's horn to warn other drivers

18. Admit that your failure to use the vehicle’s horn to warn other drivers was a cause
of the collision in question

19. Admit that you failed to obey roadway traffic speed signs regulating the
movement of traffic

20. Admit that your failure to obey roadway traffic speed signs regulating the
movement of traffic was a cause of the collision in question

21. Admit that you failed to keep a proper lookout

22. Admit that your failure to keep a proper lookout was a cause of the collision in
question

23. Admit that you failed to control the speed of the vehicle.

24. Admit that your failure to control the speed of the vehicle was a cause of the
collision in question

25. Adrnit that you failed to use due caution

26. Admit that your failure to use due caution was a proximate cause of the collision
in question

27. Admit that you failed to exercise ordinary care.

28. Admit that your failure to exercise ordinary care was a proximate cause of the
collision in question

29. Admit that you failed to properly and / or safely slow the vehicle.

39. Ad_mit that your failure to properly and / or safely slow the vehicle was a cause of
the collision in question

40. Adrnit that you failed to properly and / or safely stop the vehicle.

41. Admit that your failure to properly and / or safely stop the vehicle was a cause of
the collision in question

Plaintijj"’s Original Petition, Requests for Disclosure, Pirst Set of lnterrogatories Page 33

Requests for Ptoduction, and Requests for Admission

 

Certitied Documeut Number; 72963332 - Page 34 of 36

 

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Case 4:17-cV-00227 Document 1-2 Filed in TXSD on 01/25/17 Page 34 of 37

 

42. Admit that you failed to properly operate the vehicle.

42. Admit that your failure to properly operate the vehicle was a cause of the collision
in question

43. Admit that you caused the collision in question which resulted in personal injuries

44. Admit that Defendant WERNER monitored Defendant MAHER's driving at the
time of the collision in question

45. Admit that Defendant WERNER’s failed to properly monitor Defendant
MAHER's driving at the time of the collision in question

46. Admit that Defendant WERNER supervised Defendant l\/[AHER’ s driving at the
time of the collision in question

47. Admit that Defendant WERNER's failure to properly supervise Defendant
MAHER'S driving at the time of the collision in question was a cause of the
collision in question

48. Admit that the vehicle was in proper working condition on the day of the collision
in question

49. Admit that at the time of the collision in question there was no mechanical
condition/ defect on the vehicle that contributed to cause the collision

50. Admit that Defendant MAHER incurred medical expenses as a result of the
collision in question

51. Adrnit that Defendant l\/IAHER experienced pain and suffering as a result of the
collision in question

52. Admit that Defendant WERNER’s negligence was a proximate cause of the
collision in question

53. Adrnit that Defendant MAI-IER's negligence was a proximate cause of the collision
in question

54. Admit that Defendants’ negligence resulted in Plaintiff’s injuries pain, suffering,
incurred medical expenses and pecuniary losses

Plaintijj"s Original Petition, Requests for Discl'osure, First Set of Interrogatorz'es Page 34

Requests forProdnctfon, and Reqnests forAdmission

 

Certiiied Doctunent Nutnber: 72963332 - Page 35 of 36

 

Case 4:17-cV-00227 Document 1-2 Filed in TXSD on 01/25/17 Page 35 of 37

 

55_ Admit that Defendants’ negligence resulted in Plaintiff’s injuries pain, suffering,
incurred medical expenses and pecuniary losses

56. Admit that the collision Was not a result of a sudden emergency

57. Admit that the collision was avoidable

58. Admit that Defendant MAHER owed a duty to Plaintiff to operate the vehicle
safely.

59. Admit that Defendant MAHER owed a duty to Plaintiff to operate the vehicle
competently

60. Admit that Defendant MAHER owed a duty to Plaintiff to avoid operating the
vehicle recklesslyl

61. Admit that weather conditions were not a factor contributing to the collision

62. Admit that road conditions were not a factor contributing to the collision

63. Admit that Plaintiff's actions at the time of the collision were prudent and
reasonable

64. Admit that Plaintiff committed no act or omission that proximately caused or
contributed to the collision in question

65. Admit that Defendant l\/LAHER was employed at the time of the collision

66. Admit that Defendant MAHER was acting within the course of employment at the
time of the collision

67. Admit that Defendant MAHER Was acting Within the scope of employment at the
time of the collision

68. Admit that Defendant MAHER was acting within the course and scope of
employment at the time of the collision

69. Admit that Defendant l\/lAl-IER was employed by Defendant WERNER at the time
of the collision

70. Admit that Defendant MAHER was acting Within the course of employment With
Defendant WERNER at the time of the collision

Plaintijj"'s Original Petition, Requests for Disclosure, First Set of Interrogatories Page 35

Requests for Pro duction, and Requests for Aa'im'ssion

 

 

Certiiied Document Number: 72963332 - Page 36 of 36

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Case 4:17-cV-00227 Document 1-2 Filed in TXSD on 01/25/17 Page 36 of 37

Admit that Defendant MAHER was acting within the scope of employment with
Defendant WERNER at the time of the collision

Admit that Defendant MAHER was acting Within the course and scope of
employment with Defendant WERNER at the time of the collision

Admit that Defendant MAHER was directed by Defendant WERNER's dispatcher
at the time of the collision

Admit that Defendant MAl-IER was managed by Defendant WERNER’s
dispatcher at the time of the collision

Admit that Defendant MAHER was controlled by Defendant WERNER’s
dispatcher at the time of the collision

Admit that you had a duty to comply with all applicable safety regulations at the
time of the collision in question

Admit that at all times you complied with all applicable safety regulations at the
time of the collision in question

Admit that you have never violated any safety regulations with which you were
required to comply when operating a motor vehicle.

Admit that you have never knowingly violated any safety regulations with which
you were required to comply when operating a motor vehicle.

Respectfully submitted,
SEWELL LAW FIRM, P.C.

/s/Efrem D. Sewell
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ATTORNEY FOR PLAINTIFFS

 

Plainti]jc's Original Petition, Requests for Disclosure, First Set of Interrogatories Page 36
Reqaests for Prodnction, and Requests forAdinission

 

 

Case 4:17-cV-00227 Document 1-2 Filed in TXSD on 01/25/17 Page 37 of 37

 

l, Chris DanielJ District Clerk of Harris
County, Texas certify that this is a true and
correct copy of the original record filed and or
recorded in my office, electronically or hard
copy, as it appears on this datc.

Witness my official hand and seal of office
this January 20, 2017

Certified Document Number: 72963332 Total Pages: 36

CMWM

Chris Daniel, DISTRICT CLERK
HARRIS COUNTY, TEXAS

In accordance with Texas Government Code 406.013 electronically transmitted authenticated
documents are valid. lf there is a question regarding the validity of this document and or seal
please e-mail support@hcdistrictclerk.com

 

 

